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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                       Richmond Division


 UNITED STATES OF AMERICA,

 V.                                                                 Criminal No. 3:06CR61


 TYRONE A.HARRIS,

        Petitioner.


                                 MEMORANDUM OPINION


        Tyrone A. Harris, a federal inmate proceeding pro se, submitted this motion under 28

 U.S.C. § 2255 to vacate, set aside, or correct his sentence ("§ 2255 Motion," EOF No. 21). On

 January 19, 2019,former President Barack Obama issued an Executive Grant of Clemency to

 Harris, reducing his sentence so that it is completed on January 19, 2019. (ECF No. 27, at 1-2.)

 For the reasons that follow, the § 2255 Motion(ECF No. 21) will be DISMISSED AS MOOT.

                                     I. Procedural History


        On May 2, 2006, Harris pled guilty to conspiracy to possess with intent to distribute and

 to distribute fifty grams or more of cocaine base. (Plea Agreement 1, ECF No. 10.) Harris

 qualified for an enhanced sentenced as a career offender under § 4B1.1 ofthe United States

 Sentencing Guidelines("USSG"). (Presentence Investigation Report("PSR")^ 41, ECF

 No. 23-1.)' On August 15, 2006,the Court sentenced Harris to 262 months ofimprisonment.

(J. 2, ECF No. 16.)

        On January 19, 2019,former President Barack Obama issued an Executive Grant of

 Clemency to Harris, reducing his sentence so that it is completed on January 19, 2019. (ECF


       'For this enhancement,"[t]he predicate sentences were incurred on September 17, 1997
for Distribute Cocaine, and on January 29, 2002,for Possess With the Intent to Distribute
 Cocaine and Possess With the Intent to Distribute More than Y2 Ounce but not more than Five
Pounds of Marijuana convictions." (PSR H 41.)
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 No. 27, at 1-2.) By Order entered on February 22, 2017, the Court, inter alia, directed the

 Government to submit further briefing with respect to the Executive Grant of Clemency and

 appointed the Federal Public Defender to represent Harris with respect to the § 2255 Motion.

        On March 6,2017, the Government filed its response to the February 22,2017 Order.

(ECF No. 29.) The Government correctly notes that the Executive Grant of Clemency rendered

 Harris's § 2255 Motion moot? See United States v. Scates, No. 3:98CR87,2018 WL 3244079,

 at *2(E.D. Va. July 3,2018)(dismissing as moot petitioner's § 2255 in the wake of grant of

clemency).

                                           II. Analysis

        In United States v. Surratt, 855 F.3d 218 (4th Cir.), cert, denied, 138 S. Ct. 554(2017),

the Fourth Circuit, sitting en banc,"held that the President's commutation ofa federal prisoner's

 mandatory life sentence to a term of 200 months' imprisonment rendered moot his appeal in an

action challenging his original mandatory life sentence." Blount v. Clarke, 890 F.3d 456,459

(4th Cir. 2018)(citing Surratt, 855 F.3d at 219). "The majority .. . conclude[d] that [it] could

not disturb Surratt's presidentially commuted sentence based on his claim that he was improperly

subjected to a mandatory minimum life sentence at his original sentencing hearing." Id. at 462

(citing Surratt, 855 F.3d at 219).

        Judge Wilkinson explained the logic behind this conclusion:

       [Surratt] is... no longer serving a judicially imposed sentence, but a
       presidentially commuted one. The President's commutation order simply closes
       the judicial door. Absent some constitutional infirmity in the commutation order,
       which is not present here, we may not readjust or rescind what the President, in
       the exercise of his pardon power, has done.
               It matters not whether we believe the commutation was too lenient or not
        lenient enough. We are simply without power to inject ourselves into the lawful
        act of a coordinate branch of government—one that Surratt willingly agreed to—

       ^ By Order entered June 20, 2017,the Court granted the Federal Public Defender's
Motion to Withdraw. (ECF No. 31.)
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        and supersede a presidential pardon or commutation with a contravening order of
        our own. After all, "[i]t would be a curious logic to allow a convicted person who
        petitions for mercy to retain the full benefit of a lesser punishment with
        conditions, yet escape burdens readily assumed in accepting the commutation
        which he sought." Schick v. Reed, 419 U.S. 256, 267, 95 S.Ct. 379, 42 L.Ed.2d
        430 (1974). Surratt "cannot complain if the law executes the choice he has
        made," id. at 265, 95 S.Ct. 379 (quoting Ex parte Wells, 59 U.S. 18 How. 307,
        315, 15 L.Ed. 421 (1855)), even if my dissenting colleague thinks he made a "bad
        bargain" by accepting the commuted sentence, id. at 259,95 S.Ct. 379.

Surratt, 855 F.3d at 219-20 (second alteration in original) (Wilkinson, J., concurring);

see Blount, 890 F.3d at 462(adopting Judge Wilkinson's explanation ofthe decision in Surratt).

        Harris, like Surratt, is "no longer serving a judicially imposed sentence, but a

presidentially commuted one. The President's commutation order simply closes the judicial

door." Surratt, 855 F.3d at 219(Wilkinson, J., concurring). Accordingly, Harris § 2255 Motion

(ECF No. 21) will be DENIED AS MOOT.

        The action will be DISMISSED. A certificate of appealabilty will be DENIED.^

        An appropriate Order shall issue.




                                                      M. Hannah
           c                                          United States District Judge
Date:"UV - T) /UlD
Richmond, Virginia




        2
          An appeal may not be taken from the final order in a § 2255 proceeding unless ajudge
issues a certificate of appealability("COA"). 28 U.S.C. § 2253(c)(1)(B). A COA will not issue
unless a prisoner makes "a substantial showing ofthe denial of a constitutional right." 28 U.S.C.
§ 2253(c)(2). This requirement is satisfied only when "reasonable jurists could debate whether
(or, for that matter, agree that) the petition should have been resolved in a different manner or
that the issues presented were 'adequate to deserve encouragement to proceed further.'" Slack v.
McDaniel,529 U.S. 473,484(2000)(quoting Barefoot v. Estelle, 463 U.S. 880,893 & n.4
(1983)). Harris has not satisfied this standard.
